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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

IN RE SUBPOENA ISSUED IN:                        Misc No. 1:21-mc-00194-KPF

MWK Recruiting, Inc. v. Jowers, et al.,
pending in the U.S. District Court for the
Western District of Texas,
Case No. 1:18-cv-00444-RP

BREAKING MEDIA, INC.                             DECLARATION OF DAVID S.
dba ABOVE THE LAW,                               KORZENIK IN SUPPORT OF
                                                 PETITIONER’S MOTION TO QUASH
                                  Petitioner,    NON-PARTY SUBPOENA

                 -against-

EVAN P. JOWERS,

                                Respondent.



      DAVID S. KORZENIK hereby declares pursuant to 28 U.S.C. § 1746:

  1. I am a partner in the law firm Miller Korzenik Sommers Rayman LLP, attorneys for

      Petitioner Breaking Media, Inc., publisher of AboveTheLaw.com (“Petitioner” or “ATL”).

  2. I make this Declaration in support of ATL’s Motion To Quash Respondent Evan P.

      Jowers’ subpoena (“Subpoena” attached as Exhibit A), which seeks documents (20

      categories) and a Fed. R. Civ. P. 30(b)(6) deposition of ATL (on 25 topics) calling for

      compliance on February 18, 2021 at 12:00pm in Manhattan. ATL also moves for

      reasonable attorneys’ fees under Rule 45(d).

  3. The purpose of this Declaration is twofold: a) to provide the relevant underlying

      documents and exhibits; and b) to describe our meet and confer efforts.

  4. The two most significant ATL Articles reporting on the underlying litigation, MKS

      Recruiting v. Jowers, et al., pending in the U.S. District Court for the Western District of
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   Texas (Case No. 1:18-cv-00444-RP) (“Texas Litigation”) are attached as Exhibits A and

   B to the Subpoena. See Exhibit A to Declaration, ECF No. 15-1, at 20; 30 (the

   “Articles”). The Articles will quote from two rulings in the Texas Litigation. On

   information and belief, both rulings were reported first by competing news outlets,

   Law.com, Law360 and Bloomberg Law.

5. Initial Contacts with Respondent Jowers’ Counsel; And the Imposition of Needless

   Initial Motion Practice without Proper Time or Meet & Confer: I contacted Robert

   Tauler, Counsel for Respondent Jowers, for the first time by telephone on President’s

   Day, Monday, February 15, 2021 to discuss the Subpoena and to initiate meet and confer

   discussions – discussions that might have either avoided the need for this motion or at

   least narrowed it. We both understood that Fed R. Civ. P. 30(b)(6) requires meet and

   confer discussions in advance of motion practice. So too does accepted practice under

   Rule 45 and under many individual judges’ rules.

6. On the February 15 call with Mr. Tauler, I inquired about the nature of the Texas

   Litigation and about the discovery needs in that case. He described the nature of the case

   as he saw it; and I noted the Reporter’s Privilege issue that needed to be assessed at least

   as it related to a substantial portion of the Subpoena demands.

7. I also told Mr. Tauler that I would discuss the issues with ATL; find out what relevant

   information, if any, ATL might have in its possession; and what was at stake. We agreed

   that after I spoke with ATL, I would then speak further with Mr. Tauler.

8. Request for Extension of Time in Which to Move to Quash: During the February 15

   call, I requested an extension of time in which to make ATL’s Motion To Quash so that a

   Fed. R. Civ. P. 30(b)(6)-compliant “meet and confer” could be completed, and to avoid




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   motion practice or at least narrow its scope. The Subpoena called for a deposition on

   Thursday, February 18 – only three days after our initial phone call. So, unless ATL’s

   time to respond were extended, ATL would need to move to quash the Subpoena by

   February 17. Mr. Tauler seemed amenable to that and asked me to send a stipulation

   which he would consider. I prepared and sent Mr. Tauler the Stipulation the same day,

   February 15. A copy of the Stipulation and accompanying February 15 email is attached

   as Exhibit B.

9. On February 16 at 3:13pm, Mr. Tauler emailed me to say that he would not agree to

   extend any time. He said that his discovery cut-off in the Texas Litigation was Friday,

   February 19. Mr. Tauler wanted to go ahead with his Rule 30(b)(6) deposition of ATL

   on Thursday, February 18 – one day before his discovery cut-off.

10. That meant that ATL would have to move to quash Respondent’s Subpoena by February

   17 – one day before the February 18 deposition date. But it also meant that ATL would

   have to do so without having been allowed a reasonable time to meet and confer with Mr.

   Tauler as required by Rule 30(b)(6). That gave me about 24 hours in which to prepare

   and file a Motion To Quash.

11. The Court has since permitted time to amend the initial papers, but the prior motion was a

   needless expense and loss of time that Respondent should not have imposed on Petitioner

   ATL. The discovery cut-off was not a reasonable basis for compelling ATL to file a

   motion to quash: If ATL made the motion to quash, the February 19 date would pass

   without discovery; and if he extended ATL’s time, the February 19 date would likewise

   pass without discovery. There was therefore no reasonable basis for declining an

   extension of time.




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12. The Court Extends Time: The Court extended ATL’s time to supplement its papers on

   the Motion To Quash and thereby also to further meet and confer.

13. Further Meet and Confer with Respondent Jowers’ Counsel: I therefore had further

   discussions with Mr. Tauler to either resolve or at least narrow the discovery issues

   between us. I said that we would not waive the Reporter’s Privilege – which most news

   organizations take seriously – as does ATL. But ATL could consider answering some

   limited interrogatories on the Hong Kong Ad. We would not submit to a wasteful

   deposition in which questions were posed that would violate the Reporter’s Privilege. I

   tried to determine if there were any valid or legitimate grounds for any of the discovery

   sought.

14. Respondent’s counsel could not offer or describe any reasonable grounds for permitting

   such discovery or for our accepting the cost and burden of providing it. Rather, he

   continued to press the idea that the articles interfered with the Court’s “deliberative

   process.” This rationale made no sense at all in view of the substance of the articles at

   issue. They simply reported the rulings of the Texas District Court and the proceedings

   of the California District Court.

15. As a compromise, ATL offered to provide narrow discovery regarding the Hong Kong

   Ad in the form of focused written interrogatories. But that did not seem to offer a path

   that would resolve the matter.

16. Mr. Tauler insisted on his theory that discovery of ATL was justified because the articles

   were designed to “interfere” with the Texas Court’s “deliberative process.” That

   continued to make no sense. The Texas Court already knew about its own rulings which

   is all that is reported in ATL’s December and April Articles. To the extent that there is a




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   brief reference to Mr. Tauler’s California RICO case, that too is part of the public record.

   It was not new to anyone; it had already been published before ATL ever referenced it in

   article by other legal news outlets such as Law.com in September 2020. See Declaration

   of John Lerner dated March 4, 2021, ECF No. 14, ¶4.

17. Mr. Tauler speculated that Kinney must have been a source for the three articles and that

   would somehow impugn Kinney in some useful and material way in his Texas case. But

   the Texas case is a “trade secrets” “commercial confidence” case and a breach of contract

   case, as Mr. Tauler described it to me. And none of these articles have anything to do

   with any trade secret by any stretch of the imagination. Mr. Tauler in our discussions

   responded that if it has no bearing on trade secrets, it might as to breach of contract. But

   any reading of the three editorial pieces would not conceivably suggest anything about

   any breach of contract by anyone. Two articles describe court rulings in the Texas case

   and the Barnes article is critical of some distasteful and off-putting statements by

   recruiter Harrison Barnes about how women should or should not dress for interviews.

   Again, nothing to do by any stretch with any trade secrets or any theoretical breach of

   contract. Mr. Tauler’s rationale was far-fetched and would not meet the showing that is

   required to break a Reporter’s Privilege.

18. Meet and Confer Regarding the Sponsored Content (The Kinney Hong Kong Ad): I

   noted that sometimes “sponsored content” is editorially controlled and may then be

   subject to a Reporter’s Privilege. In this case the Hong Kong item was an ad placed, paid

   for and written by Kinney Recruiting. We would not assert a Reporter’s Privilege as to

   such advertising that is controlled by the advertiser. We would, however, per Rule 45

   protections, oppose production of information about the ad unless Jowers can show how




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   it has some rational connection with a claim or material issue in the Texas Litigation. In

   our discussions, Mr. Tauler did not proffer grounds that would justify his imposing the

   costs of a deposition or production on ATL. That burden is unfairly imposed on ATL

   and the effort appears to be a retaliatory effort to get back at ATL for its reference to the

   RICO sex pills case coverage which Mr. Tauler did not like; but which ATL

   accommodated him on.

19. Our meet and confers led to the conclusion that the motion would need to be

   supplemented. (We are submitting amended and updated papers so that the Court does

   not need to refer to the prior set of motion papers, ECF Nos. 1-3.)

20. Petitioner ATL should not have to carry the cost of this or the prior motion practice.

21. Inadequate and Untimely Service of the Subpoena: The Subpoena appears never to

   have been properly served on ATL. ATL reviewed the U.S. Postal Service tracking

   history of the envelope, attached as Exhibit C.

22. The USPS Tracking History shows the mailed envelope’s progress: The shipping label

   was created on February 4, 2021; but the envelope was only “accepted” at the Los

   Angeles Post Office on February 8 at 9:13pm; it “departed” from the USPS Regional

   Destination Facility in New York on February 11 at 2:00am; and was delivered to an

   “individual” at 611 Broadway on February 11 at 8:47am. On information and belief, that

   delivery was left with the doorman of the building who did not drop it off at ATL’s

   offices until sometimes after the ATL office manager had left the office on February 12

   when she was present. The office manager saw no envelope until February 17 when she

   was present on her return to the office that day. That is not service. And it is not timely

   service.




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Wherefore, Petitioner respectfully requests that the Court grant its Motion To Quash in all

respects; together with costs and reasonable attorneys’ fees under Fed. R. Civ. P. 45 and such

other and further relief as the Court deems proper.



I affirm the truth of the statements herein under penalty of perjury.


                               /s/David S. Korzenik

                               David S. Korzenik


       Dated: March 4, 2021
              New York, New York




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